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                                                                           CLOSED,INTERP,SEALED
                        U.S. District Court
             Eastern District of Kentucky (Lexington)
 CRIMINAL DOCKET FOR CASE #: 5:23−mj−05282−MAS All Defendants
                            *SEALED*
                        Internal Use Only

Case title: USA v. SEALED                                     Date Filed: 08/07/2023

Other court case number: 4:23−cr−218 Southern District of     Date Terminated: 08/08/2023
                         Texas (Houston)

Assigned to: Magistrate Judge
Matthew A. Stinnett

Defendant (1)
Hardik Jayantilal Patel               represented by Douglas Glenn Benge
Gujarati Interpreter Required                        Cessna and Benge
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Pending Counts                                       Disposition
None

Highest Offense Level
(Opening)
None

Terminated Counts                                    Disposition

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